      Case 2:22-cv-02095-JAD-DJA Document 59 Filed 08/24/23 Page 1 of 6




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13

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15                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
16
     SIGNIFY NORTH AMERICA CORPORATION                   Case 2:22-cv-02095-JAD-DJA
17   and SIGNIFY HOLDING B.V.
                                                         PLAINTIFF’S OPPOSITION TO
18                 Plaintiffs,                           NICHOLAS A. BROWN’S
                                                         MOTION / VERIFIED PETITION
19          v.                                           FOR PERMISSION TO PRACTICE
                                                         PRO HAC VICE IN THIS CASE (ECF
20   LEPRO INNOVATION INC,                               55)
     LE INNOVATION INC,
21   INNOVATION RULES INC.,
     HOME EVER INC., and
22   LETIANLIGHTING, INC.,

23                 Defendants.

24

25          Plaintiffs Signify North America Corporation and Signify Holding B.V. (collectively,
26   “Signify”) hereby oppose Nicholas A. Brown’s Motion/Verified Petition to Practice Pro Hac Vice
27   in this case (ECF 55) (“PHV Petition”).
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                                                 -1-
                    NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
         Case 2:22-cv-02095-JAD-DJA Document 59 Filed 08/24/23 Page 2 of 6




 1                I.      INTRODUCTION

 2                After filing a Notice of Orders Denying the Pro Hac Vice Applications of Mr. Brown in

 3   Other Matters (ECF 57), counsel for Defendants LePro Innovations, et. al (“Defendants”) asked

 4   Signify to clarify whether it was opposing the PHV Petition, “so that we may expect that you file

 5   an objection or otherwise move the Court to disqualify.”1 In response, Signify hereby clarifies that

 6   it opposes Mr. Brown’s PHV Petition because it is incomplete as identified in the Notice and

 7   discussed herein.

 8                II.     ARGUMENT

 9                Specifically, in his PHV Petition, Mr. Brown acknowledges that his admission pro hac
10   vice was denied or withdrawn by the U.S. Patent Trial and Appeal Board (“PTAB”) in 10 Patent

11   IPR proceedings because he did not disclose the public reproval he received from the State Bar of

12   California in connection with a 2004 California misdemeanor conviction.2 In summarizing the

13   Board’s orders, denying and withdrawing admission, Mr. Brown states only that the “Board found

14   [his] interpretation of the Board’s rules as not requiring the disclosure of that [California Bar]

15   reproval was unreasonable”.3

16                A true and correct copy of the referenced Order denying Mr. Brown’s pro hac vice

17   admission is attached to hereto as Exhibit A.4 This Order gives a more complete explanation than

18   that set forth in the PHV Petition. Pursuant to the Order, the Board denied and withdrew Mr.

19   Brown’s pro hac vice applications in those IPR proceedings not merely because it found his

20   interpretation of the Board’s requirement to disclose his prior sanction unreasonable, but

21   “[b]ecause Mr. Brown chose to make a false statement in his Declaration in Support of Petitioner’s

22   Motion for Pro Hac Vice Admission that ‘[n]o sanction or contempt citation had been imposed

23   against me by any court or administrative body’.”5

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     1
         See, Attestation of Counsel, infra.
25   2
         ECF 55, at 10.
     3
26       Id.
     4
      Order for Denying Petitioner’s Motion for Pro Hac Vice Admission of Nicholas A. Brown, Satco Prods., Inc., v.
27   Seoul Semiconductor Co., Ltd., IPR 2020-00836 (PTAB, Feb. 16, 2021), attached hereto as Exhibit A.
     5
28       Id., at 5.


                                                          -2-
                           NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
         Case 2:22-cv-02095-JAD-DJA Document 59 Filed 08/24/23 Page 3 of 6




 1                Mr. Brown subsequently filed a Request for Rehearing of the Board’s Order Denying his

 2   pro hac vice application. A true and correct copy of the Order Denying the Request for Rehearing

 3   is attached hereto as Exhibit B.6 The Board denied that Request as well.7

 4                Signify is surprised that Mr. Brown chose not to fully disclose this information to the Court

 5   in this case. This is particularly so, since Mr. Brown has done so in at least one other federal court

 6   proceeding of which Signify is aware. In the matter of Satco Products, Inc. v. Signify North

 7   America Corp., before the Western District of Texas,8 Mr. Brown similarly petitioned to appear

 8   pro hac vice. A true and correct copy of that petition is attached hereto as Exhibit C.9 In that

 9   petition, Mr. Brown disclosed that the reason the Board denied his applications was because “the
10   Board found that I ‘chose to make a false statement in his Declaration in Support of Petitioner’s

11   Motion for Pro Hac Vice Admission’”.10 Mr. Brown then further attached to that petition, the

12   PTAB ’s Order Denying his Motion for Pro Hac Vice Admission,11 his Motion for Rehearing of

13   the Order Denying his Petition with his supporting declaration,12 the Board’s Order Denying his

14   Request for Rehearing,13 the Board’s Order to Show Cause why his prior admission pro hac vice

15   should not be withdrawn in four other IPR proceedings light of the circumstances described in

16   [the first Board Order denying his petition],”14 Mr. Brown’s Response to that Order to Show

17   Cause,15 and the PTAB’s Order Withdrawing Mr. Brown’s pro hac vice Admissions in the four

18   other IPR proceedings.16 After having the benefit of the circumstances and filings connected with

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     6
      Order Denying Petitioner’s Request for Rehearing, Satco Prods., Inc., v. Seoul Semiconductor Co., Ltd., IPR
20   2020-00836 (PTAB, Sep. 23, 2021), attached hereto as Exhibit B.
     7
         Id., at 5.
21
     8
         Satco Products, Inc. v. Signify North America Corp., et al, Case No. 6:21-cv-00146-ADA (W.D.Tex. 2021).
22   9
      Motion for Admission Pro Hac Vice (ECF 52), Satco Products, Inc. v. Signify North America Corp., et al, Case
     No. 6:21-cv-00146-ADA (W.D.Tex., Dec., 1, 2021), attached hereto as Exhibit C.
23
     10
          Id., at Exhibit 1, ¶ 11.
24   11
          Id., at Exhibit 1A.
     12
25        Id., at Exhibit 1B-C.
     13
          Id., at Exhibit 1D.
26
     14
          Id., at Exhibit 1E.
27   15
          Id., at Exhibit 1F.
     16
28        Id., at Exhibit 1G.


                                                            -3-
                            NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
      Case 2:22-cv-02095-JAD-DJA Document 59 Filed 08/24/23 Page 4 of 6




 1   the denial and withdrawal of Mr. Brown’s pro hac vice applications, the Texas district court

 2   approved his request.

 3          What concerns Signify is Mr. Brown’s failure to similarly make such a full disclosure to

 4   this Court and particularly his failure to note that the reason for the denial of his petitions to the

 5   PTAB were the result of the Board’s finding that he “chose to make a false statement in his

 6   Declaration in Support of Petitioner’s Motion for Pro Hac Vice Admission.” That failure of

 7   disclosure in this case is concerning because Mr. Brown could otherwise have readily provided

 8   this Court with the same disclosures he provided the district court in Texas but chose not to do so.

 9          III.    CONCLUSION
10          For the foregoing reasons, Signify opposes the PHV Petition of Mr. Brown as filed and

11   hereby submits for the Court’s consideration the orders, filings, and prior statements of Mr. Brown

12   that were omitted from Mr. Bown’s PHV Petition.

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                     NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
      Case 2:22-cv-02095-JAD-DJA Document 59 Filed 08/24/23 Page 5 of 6




 1          IV.     ATTESTATION OF COUNSEL

 2          The undersigned counsel hereby declares under penalty of perjury under the laws of the

 3   United States of America that the representations regarding the email correspondence with

 4   opposing counsel set forth herein above are true and correct and that the Exhibits attached hereto

 5   are true and correct copies of the filings identified therein.

 6   Dated: August 24, 2023

 7                                                     Respectfully submitted,

 8                                                     /s/ F. Christopher Austin

 9                                                     F. Christopher Austin (SBN 6559)
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                     NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
      Case 2:22-cv-02095-JAD-DJA Document 59 Filed 08/24/23 Page 6 of 6




 1                                   CERTIFICATE OF SERVICE

 2          Pursuant to Fed. R. Civ. P. 5(b), I hereby certify that on August 24, 2023, a true and correct
 3   copy of the foregoing was filed electronically via the Court’s CM/ECF system. Notice of filing
 4   will be served on all parties by operation of the Court’s EM/ECF system, and parties may access
 5   this filing through the Court’s CM/ECF system.
 6

 7                                         /s/ F. Christopher Austin
                                           An employee of Weide & Miller, Ltd.
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                    NOTICE RE NICHOLAS A. BROWN PRO HAC VICE APPLICATION
